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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


VIRGINIA OLLER, ET AL                   *      MDL Docket No. 1657
         Plaintiffs                     *
                                        *      Section L
v.                                      *
                                        *      Judge Fallon
MERCK & CO., INC.                       *
        Defendants                      *
                                        *      Magistrate Judge Knowles
Case No. 2:05-CV-01102                  *


      ORDER GRANTING MOTION TO WITHDRAW ORIGINAL MOTION TO WITHDRAW
      BASED ON THE GROUND THAT PLAINTIFF, JESSIE DOOLAN, RESPONDED TO
     COMMUNICATIONS FROM COUNSEL PRIOR TO DEADLINE OF OCTOBER 30, 2008


         Before this Court is Counsel’s Motion to Withdraw original Motion to Withdraw as

counsel for Jessie Doolan. After consideration of the matter, the Court finds the motion well

taken.     Accordingly, the Court grants the Motion and orders that David McMullan of

BARRETT LAW OFFICE P.A., will remain as the attorney for the Plaintiff, Jessie Doolan.


         IT IS SO ORDERED.


                                        ____________________________________
                                        Judge Fallon
                                        United States District Court Judge


Date:____________________
